                                                                                    Case 2:19-cv-01171-SVW-E Document 1 Filed 02/15/19 Page 1 of 5 Page ID #:1



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                                                                                            DISCOVER PRODUCTS INC.
                                                                                    6       (erroneously sued as “Discover Financial
                                                                                            Services”)
                                                                                    7

                                                                                    8                             UNITED STATES DISTRICT COURT
                                                                                    9                            CENTRAL DISTRICT OF CALIFORNIA
                                                                                   10
                                                                                        ANDRE LUIZ COSTA SOARES,                          Case No. 2:19-CV-1171
                 A limited liability partnership formed in the State of Delaware




                                                                                   11
                                                                                                             Plaintiff,                   [Removal From Superior Court Of
                                                                                   12                                                     California, County of Los Angeles,
                                                                                                 vs.                                      Case No. 19STCV00988]
REED SMITH LLP




                                                                                   13
                                                                                        DISCOVER FINANCIAL SERVICES,                      NOTICE OF REMOVAL OF CIVIL
                                                                                   14                                                     ACTION UNDER 28 U.S.C. § 1441(b)
                                                                                                             Defendant.
                                                                                   15                                                     [Diversity of Citizenship]
                                                                                   16                                                     [Filed concurrently with Civil Cover
                                                                                                                                          Sheet; Notice of Interested Parties]
                                                                                   17

                                                                                   18

                                                                                   19            TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
                                                                                   20 THE CENTRAL DISTRICT OF CALIFORNIA:

                                                                                   21            PLEASE TAKE NOTICE that Defendant Discover Products Inc. improperly
                                                                                   22 sued as Discover Financial Services1 (“Discover”), hereby removes to this Court the

                                                                                   23 state court action described below. This case is a civil action over which this Court

                                                                                   24 has jurisdiction pursuant to 28 U.S.C. § 1332, and is one that may be removed to this

                                                                                   25 Court pursuant to 28 U.S.C. § 1441(b) because it is a civil action between citizens of

                                                                                   26 different states and the amount in controversy exceeds $75,000.

                                                                                   27
                                                                                        1
                                                                                            Discover Financial Services is a holding corporation and does not service credit
                                                                                   28 accounts with customers. The proper servicing entity is Discover Products Inc.

                                                                                                                                    –1–
                                                                                               NOTICE OF REMOVAL OF CIVIL ACTION UNDER 28 U.S.C. § 1441(b)
                                                                                    Case 2:19-cv-01171-SVW-E Document 1 Filed 02/15/19 Page 2 of 5 Page ID #:2



                                                                                    1        In compliance with 28 U.S.C. § 1446(a), Discover asserts the following
                                                                                    2 grounds for removal:

                                                                                    3        1.     On or about January 17, 2019, Plaintiff Andrew Luiz Costa Soares
                                                                                    4 (“Plaintiff”) filed a Complaint in the Superior Court of the State of California, County

                                                                                    5 of Los Angeles, entitled Andrew Luiz Costa Soares v. Discover Financial Services., at

                                                                                    6 Case No. 19STCV00988 (hereinafter the “State Court Action”). A true and correct

                                                                                    7 copy of the Complaint in the State Court Action is attached hereto as Exhibit A.2

                                                                                    8        2.     As more fully set forth below, this case is properly removed to this Court
                                                                                    9 pursuant to 28 U.S.C. § 1441 because this is an action between citizens of different

                                                                                   10 states in which the amount in controversy exceeds $75,000. Discover has satisfied the
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 procedural requirements for removal set forth in 28 U.S.C. § 1446. In filing this

                                                                                   12 Notice of Removal, Discover reserves all defenses that it may assert in this action.
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                                                                                   13 I.     REMOVAL IS PROPER BASED ON DIVERSITY OF CITIZENSHIP
                                                                                   14               A.     THERE IS COMPLETE DIVERSITY OF CITIZENSHIP
                                                                                   15        3.     In order to qualify for diversity of citizenship jurisdiction, the named
                                                                                   16 plaintiff’s citizenships must be completely diverse from all of the named defendants’

                                                                                   17 citizenship, excluding nominal, fraudulent and/or sham defendants. See Grupo

                                                                                   18 Dataflux v. Atlas Global Group, LP, 541 U.S. 567, 571 (2004).

                                                                                   19                      1.     PLAINTIFF’S CITIZENSHIP
                                                                                   20        4.     According to the Complaint, Plaintiff “is an individual who is currently
                                                                                   21 and was at all relevant times herein a resident of the State of California, County of

                                                                                   22 Los Angeles, City of West Hollywood.” Complaint at ¶ 1. For this reason, Plaintiff is

                                                                                   23 considered a citizen of California for removal purposes. See generally, Lew v. Moss,

                                                                                   24 797 F.2d 747, 751 (9th Cir. 1986) (allegations of residency in a state court complaint create

                                                                                   25 a rebuttable presumption of domicile supporting diversity of citizenship); State Farm Mut.

                                                                                   26
                                                                                        2
                                                                                   27  Exhibit A also includes all documents that were attached to the Complaint and
                                                                                      served on Discover, including Plaintiff’s Civil Case Cover Sheet, Summons, and
                                                                                   28 Proof of Service.

                                                                                                                                  –2–
                                                                                            NOTICE OF REMOVAL OF CIVIL ACTION UNDER 28 U.S.C. § 1441(b)
                                                                                    Case 2:19-cv-01171-SVW-E Document 1 Filed 02/15/19 Page 3 of 5 Page ID #:3



                                                                                    1 Auto. Ins. Co. v. Dyer, 19 F.3d 514, 519-20 (10th Cir. 1994) (allegation of residency by

                                                                                    2 party in state court complaint “created a presumption of continuing residence in [state] and

                                                                                    3 put the burden of coming forward with contrary evidence on the party seeking to prove

                                                                                    4 otherwise”); Long v. Empire Today, LLC, 2014 U.S. Dist. LEXIS 617, *4 (C.D. Cal. 2014)

                                                                                    5 (place of residence provides “prima facie” case of domicile).

                                                                                    6                      2.     DEFENDANT DISCOVER’S CITIZENSHIP
                                                                                    7         5.    Pursuant to 28 U.S.C. § 1332, a corporation is a citizen of both the state
                                                                                    8 where it is incorporated, and the state where it has its principal place of business. See

                                                                                    9 28 U.S.C. § 1332(c). Discover is a corporation that is incorporated in the state of Utah

                                                                                   10 with its principal place of business in Utah. Accordingly, Discover is a citizen of
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 Utah.

                                                                                   12         6.    Discover Financial Services is a corporation that is incorporated in the
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                                                                                   13 state of Delaware with its principal place of business in Illinois. 3 Thus, although

                                                                                   14 Discover maintains that Discover Financial Services was improperly named in the

                                                                                   15 Complaint, for purposes of establishing diversity jurisdiction, Discover Financial

                                                                                   16 Services is a citizen of Delaware and Illinois.

                                                                                   17 B.      THE AMOUNT IN CONTROVERSY REQUIREMENT IS SATISFIED
                                                                                   18         6.    In addition to diversity of citizenship, “the matter in controversy [must]
                                                                                   19 exceed[] the sum or value of $75,000, exclusive of interest and costs …” 28 U.S.C.

                                                                                   20 § 1332(a)(1). In this case, Plaintiff alleges compensatory damages in the amount of

                                                                                   21 $6,000,000 and general damages “in excess of $150,000.” See Complaint at Prayer

                                                                                   22 for Relief, ¶ 1. The amount in controversy is therefore clearly satisfied.

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                                                                                   26   A true and correct copy of page 1 of Discover’s January 31, 2019 8-K filing with the
                                                                                      SEC, which identifies Discover’s principal place of business and state of
                                                                                   27 incorporation, is attached hereto as Exhibit B. The form is also available at
                                                                                      https://investorrelations.discover.com/investor-relations/financials/sec-filings/sec-
                                                                                   28 filings-details/default.aspx?FilingId=13183372.

                                                                                                                                  –3–
                                                                                            NOTICE OF REMOVAL OF CIVIL ACTION UNDER 28 U.S.C. § 1441(b)
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                                                                                    1       II.     DISCOVER HAS SATISFIED THE PROCEDURAL REQUIREMENTS
                                                                                    2                                         FOR REMOVAL
                                                                                    3              7.    The Superior Court of California for the County of Los Angeles is
                                                                                    4 located within the Central District of California. Thus, the Central District of

                                                                                    5 California is the proper venue for this removal because it is the “district and division

                                                                                    6 embracing the place where such action is pending.” 28 U.S.C. § 1441(a).

                                                                                    7              8.    Plaintiff filed the State Court Action on January 17, 2019, and, according
                                                                                    8 to Plaintiff’s proof of service, Plaintiff served the Summons and Complaint by mail on

                                                                                    9 January 17, 2019. See Exhibit A at p. 10.

                                                                                   10              9.    This Notice of Removal is timely in that it is being filed within thirty
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 days of Discover’s receipt of Plaintiff’s initial pleading, which was the first time that

                                                                                   12 Discover ascertained that the State Court Action was removable under federal law.
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                                                                                   13 See 28 U.S.C. 1446(b).

                                                                                   14              10.   Pursuant to 28 U.S.C. Section 1446(a), copies of all process, pleadings
                                                                                   15 and orders received by Discover in the State Court Action, including the Complaint,

                                                                                   16 are filed and attached with this Notice of Removal.4 Discover shall promptly serve

                                                                                   17 Plaintiff with this Notice of Removal and promptly will file a copy of this Notice of

                                                                                   18 Removal with the Clerk of the state court in which the removed action has been

                                                                                   19 pending, pursuant to 28 U.S.C. Section 1446(d).

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                                                                                            All remaining State Court orders and filings that have been received by Discover are
                                                                                   28 attached hereto as Exhibit C.

                                                                                                                                      –4–
                                                                                                  NOTICE OF REMOVAL OF CIVIL ACTION UNDER 28 U.S.C. § 1441(b)
                                                                                    Case 2:19-cv-01171-SVW-E Document 1 Filed 02/15/19 Page 5 of 5 Page ID #:5



                                                                                    1        WHEREFORE, Defendant Discover Financial Services respectfully requests
                                                                                    2 that this case be removed from the Superior Court of the State of California for the

                                                                                    3 County of Los Angeles to this Court, pursuant to 28 U.S.C. §§ 1332 and 1441(b).

                                                                                    4

                                                                                    5 DATED: February 15, 2019               REED SMITH LLP

                                                                                    6

                                                                                    7                                        By:        /s/ Raagini Shah
                                                                                                                                   Raagini Shah
                                                                                    8                                              Attorneys for Defendant
                                                                                                                                   DISCOVER PRODUCTS INC.
                                                                                    9                                              (erroneously sued as “Discover Financial
                                                                                                                                   Services”)
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                 A limited liability partnership formed in the State of Delaware




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                                                                                           NOTICE OF REMOVAL OF CIVIL ACTION UNDER 28 U.S.C. § 1441(b)
